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IN THE UNITED STATES DISTRICT COU§YLDBK:Q&£_DC
FOR THE WESTERN DISTRICT OF TENNESSEE

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TERESA DONNELL and
HARVEY DONNELL,

Plaintiffs,

vs. Civil Action No. l:OB-llB9~T/An

KOHLER COMPANY and
GEORGE ROGERS,
Individually,

Defendants.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
MONDAYl JULY 24l 2006, at 9:30 a.m. in the Federal Courtroom, Room
432 Fourth Floor, U. S. Courthouse, in Jackson, TN. A joint pre-
trial order must be submitted to the court by FRIDAYc
JULY 14c 2006. All discovery must be completed before that date.

Counsel, and any party proceeding prp §e, MUST confer and
attempt to prepare a joint pre~trial order Which covers the items
set forth_below; If a joint pre*trial order cannot be agreed.upon,
the attorneys must notify the court at least lO days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying' the court, the attorneyl for each. party or aa party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the
proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature
and amounts of damages;

4. specific facts that may be stipulated (possible
sources of these agreed facts are the pleadings,
discovery, or admission of counsel);

5. contested issues of fact;

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6. contested issues of law;

7. exhibits (except documents for impeachment only) to
be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party proceeding prg_§e, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally' familiar‘ with. pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding prg se will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference“? 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. l6.

 

IF AN ATTORNEY OR A PARTY PROCEEDING EBQ §§ FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.
ENTERED AS DIRECTED,
THOMAS M. GOULD, CLERK

BY: CyLHLdo

Deputy lerk

DATE: é?/:?//C)S

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thice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:05-CV-01139 Was distributed by faX, mail, or direct printing on

August 3], 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

